Case 2:05-cr-20076-.]DB Document 45 Filed 06/09/05 Page 1 of 2 Page|D 49

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United States District Court 5 JUN _9 PH 3: 35

Western District of Tennessee qom _ 3_ 31 nolan
ci_ERK. US S‘*DS T,§:i<:
\N_D .1 OF Tl`i MEM
United States of America )
)
vs )
_ )
Debra Franklm ) Case N0.05-20076

CONSENT TO MODIFY CONDITIONS OF RELEASE

-, TDebra Franklin ,have discussed With Angela K. Yates, Pretrial Services Officer,
modification of` my release conditions as follows:

l) Participate in mental health treatment if deemed advisable by the Pretrial Services Office

I consent to this modification of my release conditions and agree to abide by this modification

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Signature of Defendant Date Pretria| Services/Probation fficer Date
I/have eve :Z'ed the cond"/G /ith my client and concur that this modification is appropriate
4#[/1”6/1/§0 7511/77 4/;2_.»»;/115
/ /
Signature of Defcnse Counse] Date

>{] The above modification of conditions of` release is ordered, to be effective on 6/2A5

[ ] The above modification of conditions of` release is got ordered.

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Signature of Judicial Ot`ficer Date

ed on the docket sheet in compliance

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with Rule 55 andfor

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:05-CR-20076 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

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